
PER CURIAM.
Appellant seeks review of the lower court’s denial, without an evidentiary hearing, of appellant’s Fla. R. Crim. P. 3.850 motion for post-conviction relief. Appellant has alleged a violation of the “plea bargain arrangement,” and the cause is hereby remanded in this regard for the lower court to either hold an evidentiary hearing, or attach to its order of denial “a copy of that portion of the files and records which conclusively shows that the prisoner is entitled to no relief .... ” See Rule 3.850, Fla. R. Crim. P.
It is so ordered.
ROBERT P. SMITH, Jr., C.J., and LARRY G. SMITH and WENTWORTH, JJ., concur.
